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                   Exhibit 153
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      CONFIDENTIAL                                            SHATSKY-JD01782-T




                               IPalestin ian Authority emblem]

                                     State of Palestine

                      Ministry of Detainees and Ex-Detainees Affairs

              General Administration for Administrative and Financial Affairs

                                    Archive Department

        17569              Yahia Muhamad Naif Abdullah Hajj Hamad



       lmportant note: The file contains two files of two separate prisoners.

       Kindly pay attention to this to avoid confusing the two.




      CONFIDENTIAL                                            SHATSKY-JD01782-T
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CONFIDENTIAL                                                                                                           SHATSKY.JDO1787-T

                                                                     77569
           oK
 IEnglish] Palestinian National Authority                        [Emblem of the        [Arabic] Palestinian National Authority
 Ministry of Detainees & Ex-detainees Affairs                                     Ministry of Detainees & Ex-detainees Affairs
                                                              Palestinian Authorityl
 Gen. Dep, Detainees & Ex-detainees                                                        Gen. Dep. Detainees & Ex-detainees
           Payments for first months due to family's material need after their house was.dg!Lg!!.9hcg[ (ifl an exnlrc;^-t                                    Ex-
                                                                                                                                               Detainees &
                                                                                                                      tJ:,".i;t"'J'"o't
                                                   Main Prisone r Form 256747 [ittegibte]
                                                                                                                       07-02'2016
 Form no.:
                                                                                                                                               of Legal Affairs
 Form issuance date:            L2lLlzots                  Ministry's admi nistration/branch :              Nablus     General Admini*ration

                                                                                                                       Checked


1. Basic information concerning the prisoner:                                                                              lndictmentsl


 lD no.                                                                                      2                0                 4              6
 (9 disits)
 Four-part                    First name                  Father's name                   Grandfather's                       Family name
 name:                                                                                         name
                        Yahva                      Muhamad Naif                         Abdullah                     HaiiHamad
 Mother's               Hiyam                                                           Gender:                      EI Male              ! Female
 name:
 DoB                                                                                    Place of birth:           Nablus
 Education:             I llliterate                            tr High school                          g                                 education
 Profession             Student                                                         Organization:
 prior to arrestr
 Arrest date:           t0/8120ts                                                       Place of arrest:  Meeiddo
 Arrest status:         EI Detained        tr Sentenced       tr Administrative                    D Free                           tr Other
 ln case of life        Day            Month Year             Expected release date                     Dav          Month          Year
 sentence                                      Life            according to verdict:
 according to                                  sentence
    rcRc
    Certificate
    Permanent           Governorate:        Nablus             Residential complex:                     Red acted

    residence:
    Notes:


2. lnformation concerning previous arrests:   _.     Only those attested to by ICRC certificates, in chronological order fiom newest to oldest.


     No.        Arrest date     Arrest type         Release date              Arrest                                          Notes
                                                                                  Month          Year
    t.
    2
                                                                                                                   ?!0-20x6
    3
    4
    5




T


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CONFIDENTIAL                                                                                                SHATSKY- JDO1788-T

    IEnglish] Palestinian National Authority                 [Emblem of the                 [Arabic] Palestinian National Authority
    Ministry of Detainees & Ex-detainees Affairs          Palestinian Authorityl       Ministry of Detainees & Ex-detainees Affairs
    Gen. Dep, Detainees & Ex-detainees                                                          Gen. Dep, Detainees & Ex-detainees



3. Social Status lnformation:

    Marital Status: .-       ! Sinsle                 tr Married                   ! Divorced               E Widow
    lf Married:              -Enter data of spouse and children
    Spouse's lD No.            \                                                    Marriage Contract Date   I /
    Spouse Name                                                                                   Number of Children:
    Data on children from first wife:                     unmarried                of all
    No.    Name                                                    DoB              Marital Status Education
    L.
    2.
    3.
    4.
    5.
    6.
    7
    8.
    9.


4. lnformation of Authorized Representative (Beneficiary):

                slD                                                                     t          8             6          3
    Authorized Representative
    - Beneficia Namel                   -T
                                    Hiyam Jawddt Abdullah Hajj Hamad                             Relationship:       His mother


    Date of Authorization if            /t                            Authorization's Period of Validity:
    Available:
    Bank:                           Redacted                          Bank Branch:                            Red acted
    Account No.:                                                             Redacted
    Landline Phone No.:             Red acted                         Cell Phone No.:
    Permanent Beneficiary's         Governorate:    Nablus            Residential complex:
    Address:
    Notes:


    Applicant's Notes:
    Confirmation:              I the undersigned confirm and attest that all the information included within the request is
                               correct and I bear the responsibilitv for it,
    Applicant's Signature:     Ihandwritten signatu re]


2

CONFIDENTIAL                                                                                                SHATSKY- JDO1788-T
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CONFIDENTIAL                                                                                                 SHATSKY- JDO7789-T


                           [English] State of Palestine                                       lArabicl State of Palestine
          Ministry of Detainees & Ex-detainees Affairs       IEmblem of the          Ministry of Detainees & Ex-detainees Affairs
                                                          Palestinian Authorityl
                  Gen, Dep. Detainees & Ex-detainees                                     Gen, Dep. Detainees & Ex-detainees

5. For Official Use:

 Advisor/Employee's Name:             Hudaib
 Advisor/Employee's Notes:
 Date:                                th2/20rs                 Sisnature                           lhandwritten signatu rel
 Administration Head's Name:
                                                                                                       lRound stamo:
 Administration Head's Notes                          s
                                                                                                       Ex-detainees
                                                                          and
                                                                                                                      / ,i,fii,iT;?,,li,ii3i-
 Date:                                                         Sta



Attached Documents: Check (V) alongside attached documents (confirmation and approval of the Administration's head)

 tr        Prisoner/Ex-prisoner's copy of lD                         g      Beneficiary's copy of lD
 g         ICRC certificates
                                                                     g      lndictment
 tr        Verdict decision (if available)                           g      Copy of bank account card
 tr        Copv of authorized marriage certificate                   tr     Copies of children's birth certificates
 D         Addendum of additional wife/wives                         n      Other (specify)


6. Confirmation and Approval:

 1. Confirmation by Prisoners' Affairs       E I approve the confirmation of the Prisoner Form (per regulations and laws)
 Name of authorized employee:
 Date:                                               I         Stamp and
                                                               signature:
                                             ! I do not approve the confirmation of the Prisoner Form
    Reasons and causes:


 2. Confirmation by Legal Affairs:           I I aoorove the confirmation of the Prisoner Form (per regulations and laws)
    Name of authorized employee:
    Date:                                                      Stamp and
                                                              sisnature:
                                             tr I do not approve the confirmation of the Prisoner Form
    Reasons and causes:


3

CONFIDENTIAL                                                                                                  SHATSKY- JDO1789-T
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                                                                                                           SHATSKY-JDO179O.T




          lsrael                               Defense                                         Forces

          in the Military Court                    This indictment was      Court File         15 / [illegible]
                                                   filed in the Military
          SAMARIA                                  Court                    Prosecution File:. 2252/ t5
                                                   on: November 19,
          Before a Panel                           2015.
                                                   Recorded in the court
                                                                            Police   File:     3593/15
                                                   docket as Case Flle
                                                   Number Iunclear] -
                                                                                               3202/ts
                                                   32r
                                                                            (Terrorist Activities Petah Tikva)
                                                   Signature: [Signaturel
                                                                                                             lArabic stampl PLo
                                                                                                    Detainees & Ex-Detainees Department
                                                                                                              Febtuary 7,2016
                                                                                                           Gen. Dir. for Legal Affairs
          ln the case between:                                                                                     checked
                                                                                                                 lndictments

                                               The Military Prosecutor

                                                                                     -The Prosecution-

                                                              v.

                                 Yahia Muhamad Naif Abdullah Hajj Hamad

                                        (Detained since October 3,2015)
                                              R"d"tt"d2046,
                                     lD No.                   bornR"d""t"d, 1991, resident of Nablus

                                                                                      - The Defendant -


                                                     lndictment

          The above-caotioned Defendant is herebv indicted for committins the
          followins offenses:

          First Count:

          Description of the Offense: Nature of the Offense: Membership in an unlawful

                           association, an offense pursuant to Sections 84 and 85(1XA) of

                           the Defense Regulations (Emergency), t945.


          Details of the Offense: The above-captioned Defendant, while in the region,

                           was a member or acted as a member of an unlawful association,

                           to wit:


                           Starting or around two years prior to his arrest, in Nablus or in
                           proximity thereto, the Defendant was a member of the Hamas

                           organization (hereinafter: "Hamas"), which constitutes an
                           unlawful association. As part of his membership in the said
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                    organization, the Defendant acted as stated in the following
                    counts of indictment, as set forth below:


                    A. At or around approximately one and a half years prior to his
                       arrest, in the grocery store owned (hereinafter: the "Grocery
                       Store") by Ragheb Ahmad Mohamed Aliwiya (hereinafter:
                       "Ragheb") or in proximity thereto, the Defendant accepted
                       Ragheb's offer to take military action against lsraeli targets

                       on behalf of the Hamas organization.

                    B. ln or around January 2015, the Defendant contacted Karam
                       Lutfi Fathi Rizq (hereinafter: "Karam") and offered that he
                       take military action with him on behalf of the Hamas
                       organization in the form of the execution of terror attacks
                       against lsraeli targets with the objective of causing the death

                       of Jewish settlers later on. ln or around March 2015,


                                             (1)




                                                                                SHATSKY.J DO179O.T
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                                                                                                      SHATSKY-J D01791-T




                                         the Defendant contacted him again and repeated his proposal
                                         that he take military action with him against lsraeli targets. Karam
                                         responded in the affirmative to the proposal.

                                    c.   At or around four months prior to his arrest, in the Grocery Store
                                         or in proximity thereto, after Amjad Adel Muhamad Aliwi
                                         (hereinafer: "Amjad") had recruited Ragheb into the Hamas
[Arabic language stamp] PLo
  Detainees & Ex-Detainees
        Department                       military organization that aimed to execute shooting attacks on
    February 7, 2016
 Gen. Dir, for Legal Affairs             lsraelis (hereinafter: the "Military Cell"), Ragheb contacted the
         checked

                                         Defendant and recruited the latter for Military Cell operations
                                         while explaining to theDefendant the Military Cell's objectives.

                               D.        Shortly after the recruitment of the Defendant into the Military

                                         Cell, as previously noted, the latter contacted Basam Rahami
                                         Daoud Abu Jazela (hereinafter "Basam") and proposed to him that

                                         he take military action with them and in particular, assist the
                                         Defendant in the preparation of weapons and other equipment
                                         that would serve in military operations, Basam later accepted the
                                         offer on two different occasions. The Defendant hid with Basam
                                         equipment that would later serve the Military Cell in its operations

                                         . Among other things, the Defendant transferred a sack containing

                                         vests to Basam,

                                    E.   During that same period, the Defendant contacted Ragheb and

                                         requested his approval to recruit Karam into the Military Cell in

                                         light of the latter's consent to take military action as set forth
                                         above. Ragheb acceded to the request. The Defendant then
                                         recruited Karam into the Military Cell while explaining to him the
                                         cell's objectives, as noted above, and the existence of additional

                                         cell members.
                                    F.   Later, and in light of Karam's recruitment, in or around Nablus, the

                                         Defendant conducted, on two different occasions, meetings
                                         between Karam and Ragheb in which the latter ascertained
                                         Karam's readiness to operate in any framework that would be

                                         required in order to realize military operations. Karam responded

                                         that he is ready to take any action necessary provided that he
                                         would not engage in shooting given his lack of skills in weapons
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                       operation. Therefore, Ragheb offered that he would train him how

                       to operate weapons. Karam accepted the offer.
                    G. ln or around July 2015, in Ragheb's house in Nablus or proximity
                       thereto, the Defendant, Karam, and Ragheb met. At the meeting,
                       the last one trained the two former on the operation of an M16
                       weapon, bearing imprinted number 700326K (hereinafter: the
                       "Weapon"), and in particular, the dismantling and assembly
                       thereof.
                    H. At or around the beginning ofAugust 2015, in the Grocery Store or
                        in proximity thereto, the Defendant discussed with Ragheb the
                        incident wherein a residential home in the village of Duma was
                        deliberately set on fire thereby causing the death of the
                        Dawabsheh family. Already during their conversation, the
                        Defendant and Ragheb agreed that a revenge operation must be

                        undertaken. Similarly, the Defendant agreed to Ragheb's request

                        for financial assistance to purchase weapons for the military
                        operation. Therefore, the Defendant gave Ragheb the financial
                        sum of NIS 7,400.

                    L A number of days afterward or at a time in proximity thereto, in
                        the Grocery Store on in proximity thereto, when the Defendant
                        met with Ragheb, the latter introduced him to Samir Zuheir



                                                                              SHATSKYI D01791-T
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                                                                                                                  SHATSKY-J D01792-T


                                           lbrahim Kusa (hereinafter: "Sami/'). During the course of that
                                           meeting, Ragheb explained to the two that from then on, they
                                           would work in tandem in the Military Cell. The three further
      lArabic language stamp] PLO
        Detainees & Ex-Detainees           agreed that the time had come to take military action given the
              Department
           February 7, 2016                events that had taken place during that period at the Al-Aksa
       Gen. Dir. for Legal Affairs
                Checked
              lndictments
                                           Mosque and in response to the death of the aforementioned
                                           Dawabsheh family. Therefore, the three agreed that Samir and the

                                           Defendant would meet later that day, in the evening, and travel
                                           together to the area of the Beit Furiq junction for purposes of
                                           executing a shooting attack on the vehicles of Jewish settlers in

                                           order to cause the death of the latter. They also agreed that they

                                           would execute the said terror attack using the Weapon and the
                                           magazines that contained compatible bullets (hereinafter: the

                                           "Ammunition") that were in Ragheb's possession. Further for
                                           purposes of executing the said shooting attack, Ragheb asked the

                                           Defendant and Samir to gather intelligence regarding Jewish
                                           settler vehicular traffic and the presence of security forces on the
                                           road next to Beit Furiq and Beit Dajan. The Defendant and Samir
                                           complied with the request.

                                           The Defendant's membershio in Hamas and the Militarv Cell
                                           continued until the date of his arrest.



                Second Count:

                Descriptionof theOffense: Attempted intentional causation of death, an offense
                              pursuant to Sections 198 and 209(a) to the Security Provisions (Judea and

                              Sama ria) Order [Co nsolidated Version] ( No. 165 1), 577 O-20O9.


                Details of the Offense: The above-captioned Defendant, while in the region,

                              attempted to intentionally cause the death of a person, to wit:

                                      a. Already on that day and further to what is stated in subsection I of
                                          the previous count, the Defendant and Samir, separately, pursuant
                                          to the said earlier agreement, reconnoitered the traffic intersection
                                          next to Beit Furiq and Beit Dajan. Later, they updated Ragheb
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                         regarding their findings as to the absence of security forces along

                         the said intersection.
                    b.   Then, after the three agreed on a strategic location for the
                         execution of the terror attack, the Defendant headed toward the

                         Grocery Store or in proximity thereto, and Ragheb took the
                         Weapon and the Ammunition. Even when the Weapon was being

                         handed over, Ragheb gave guidance to the Defendant on how to

                         operate the Weapon.

                    C.   Afterward, Samir and the Defendant met as agreed, the latter with
                         the Weapon and Ammunition in his possession. Then, the
                         Defendant and Samir positioned themselves in the latter's vehicle,

                         a Fiat Uno, bearing Palestinian license plate number 4-1480-90
                         (hereinafter: the "Fiat") such that the Defendant was driving and

                         Samir with sitting in the backseat with the Weapon in his
                         possession. The two began traveling toward the Beit Furiq junction,

                         and when they reached their destination, they discerned a vehicle

                         bearing lsraeli license plates making its way from the Elon Moreh

                         settlement toward the Tamar settlement [unclear], and after Samir
                         stuck his upper body out from the car, the latter shot a number of

                         bullets toward the lsraeli vehicle at a distance of approximately six

                         meters. lmmediately afterward, the two escaped from the scene.

                    d.   A short time after the execution of the said terror attack, the
                         Defendant traveled, together with Samir, to the home of Karam in

                         Nablus or in proximity thereto, where the Defendant met Karam

                         while Samir
                                                           p)
                                                                                            SHATSKYJ D01792-T
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                                                                                                           SHATSKY-J D01793-T

   [Arabic language stamp] PLO
                                      continued on his way. The Defendant asked Karam to prepare for him
     Detainees & Ex-Detainees
           Department                 the weapon and ammunition that remained in his possession. The
       February 7,2016
    Gen, Dir. for Legal Affairs
            ahe.k..l
                                      latter complied with his request. A number of days afterward, the
                                      Defendant returned to Karam's home and took possession of the
                                      weapon and ammunition. Similarly, subsequently, the Defendant
                                      provided Karam with 250 bullets that would later serve in the Military

                                      Cell's operations.

                                      e. Twenty-four hours after execution of the shooting attack or in
                                      proximity thereto, the Defendant and Samir updated Ragheb regarding

                                      the execution and results of the shooting terror attack at the
                                      aforementioned Beit Furiq junction. Throush their above-mentioned
                                      actions, the Defendant and his accomplices attempted to cause the

                                      death of another person.
                       Third Count:

                       DescriotionoftheOffense: Conspiracy to intentional causation of death, an
                                      offense pursuant to Sections 209(4) and 254 of the Security Provisions

                                      lConsolidated Versionl (Judea and Samaria) (No. 1651), 5770-2009.

                       Details of the Offense: The above-captioned Defendant, while in the region, conspired

                                      to intentionally cause the death of a person, to wit:

                                      A. ln or around August 2015, the Defendant updated Ragheb
                                          regarding Karam's wish to take military action in which he would

                                          die. Then, the Defendant, together with Ragheb, set out for Ein
                                          Fara with the objective of examining the possibility of executing a

                                          shooting attack against the Jewish settlers at that destination.
                                          Later, after an examination of the area, the Defendant suggested

                                          to Karam that he execute the shooting attack at the said spring.
                                          Karam accepted the Defendant's suggestion but conditioned the

                                          execution of the terror attack on his later examination of the area.
                                          The Defendant and Karam headed toward Ein Fara pursuant to
                                          Karam's request. Then, when the two arrived at their destination,

                                          the Defendant surveyed the area's contours as part of the planning
                                          for the terror attack. At the end and, inter alia, given the presence
                                          of an Arab population in the place, they ceased from their
                                          planning.
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                          B. A short time afterward, Ragheb and the Defendant traveled, in the
                             latter's vehicle, toward the Tomb of Joseph with the objective of
                             examining the area as a possible target for the execution of a

                             shooting attack. At the end and in light of the alert presence of
                             security forces in the said area, the two withdrew from their plan.



          Fourth Count:

          Descriptionof theOffense: Attempted intentional causation of death, an offense
                          pursuant to Sections 198 and 209(A) of the Security Provisions

                          lConsolidated Versionl (Judea and Samaria) (No' 1651), 5770-2009'

          Details of the Offense: The above-captioned Defendant, while in the region,

                          attempted to intentionally cause the death of a person, to wit:

                          A. On or around August 30, 2015, when the Defendant met together
                              with Ragheb and Samir in the Grocery Store in Nablus, the three
                              discussed the failure of the above-described shooting attack and

                              the possibility of executing an additional shooting attack with the
                              objective of causing the death of a Jewish settler. To that end,
                              Samir suggested that the shooting attack be executed during the

                              night in the area of the Jit junction given the voluminous traffic of
                              Jewish settlers' vehicles at that intersection. Despite the foregoing,

                              Ragheb proposed that the shooting attack be executed already on

                              the afternoon of that same day. The Defendant and Samir
                              accePted the   ProPosal. 4
                                                                                               SHATSKY-JD01793.7
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                                                                                                              SHATSKY-J D01794.7

                                        B. At or around an hour later, Samir drove the Fiat, as agreed, to the
                                           area of or around Beit Vizan. When Samir reached the destination,

                                           he met the Defendant, who entered the Fiat and positioned
                                           himself in the back seat with the Weapon and the Ammunition in

                                           his possession. The two then started traveling toward the Jit
                                           junction as planned.

                                        C. A short time afterward, when the two reached a dirt road, Samir
                                           stopped the Fiat at the roadside and switched the Palestinian
                                           license plates with lsraeli license plates. Afterward, the two
                                           continued on their way to the Jit junction.

                                           Later, when the Defendant and Samir reached their destination

                                           and did not spot lsraelis further on, the two continued traveling in
[Arabic lanSuage stamp] PLO
  Detainees & Ex-Detainees                 the direction of the Einav settlement in the attempt while still
        Department
    February 7, 2016                       searching for lsraeli vehicles. Then, when the two detected a
 Gen. Dir. for Legal Affairs
         chF.k.d
                                           Hyundai vehicle bearing lsraeli license number 70-808-78
                                           (hereinafter: the "lsraeli Vehicle"), which was being driven at the
                                           time by Ronen Edri, who was traveling toward them, the two made
                                           a U-turn and started pursuing the lsraeli Vehicle. Later, at or
                                           around the Jit junction, after Samir and the Defendant caught up

                                           with the lsraeli Vehicle, the two stopped their vehicle to the left of
                                           the said vehicle. At the same time, the Defendant began shooting
                                           dozens of bullets toward the lsraeli Vehicle at a distance of
                                           approximately six meters. lmmediately after the shooting attack,
                                           the Defendant and Samir fled the scene.
                                           As a result, the bullets penetrated the left side of the lsraeli Vehicle

                                           and shattered its front left windshield. Given the aforementioned,

                                           the driver Ronen Edri was injured by the glass shards.
                                           Throueh their above-mentioned actions. the Defendant and his
                                           accomplices attemoted to cause the death of Roni Edri.



                         Fifth Count:
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          DescriptionoftheOffense: Conspiracy to intentional causation of death, an
                         offense pursuant to Sections 209(A) and 254 of the Security Provisions

                         [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-2009'

          Details of the Offense: The above-captioned Defendant, while in the region, conspired

                         to intentionally cause the death of a person, to wit:

                         A. Twenty-four hours after execution of the shooting attack as set
                             forth in the previous count or in proximity thereto, the Defendant
                             headed toward the Grocery Store in Nablus, where he updated

                             Ragheb regarding the execution and results of the shooting attack

                             at the aforementioned Jit   junction.       Approximately one week

                             after what is stated in subsection a or in proximity thereto, the
                             Defendant returned the Weapon and Ammunition to Ragheb
                             pursuant to the latter's request. On or around September 23,2015,

                             on the night after the Day of Atonement, the Defendant met with

                             Samir in the Grocery Store in Nablus or in a hotel in proximity

                             thereto and agreed with him that they would go out, at nighttime,
                             to execute an additional shooting attack in the area of the Beit
                             Furiq junction.

                         B. Later, the Defendant contacted Ragheb and updated him regarding
                             their planning to execute an additional shooting attack. At that
                             point, the Defendant requested the Weapon from Ragheb for the

                             sake of the execution of the said terror attack' Ragheb agreed to

                             the request and gave the Weapon and Ammunition to the
                              Defendant. Subsequently, the Defendant and Samir traveled in a

                             Skoda Octavia taxi, bearing Palestinian license plate number 7-

                              2876-30, which was in l[partially cut offl possession

                                                                 5



                                                                                              SHATSKY-J D01794-T
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                                                                                                        SHATSKY-JD01795-T


                                   (hereinafter: "Skoda"), toward the Beit Furiq junction in order to

                                   examine the intersection at which the shooting attack would later be

                                   executed.

                                   C. Then, when the Defendant and Samir reached the area nearthe Beit

                                   Furiq junction, the two discerned the presence of security forces who

                                   were conducting a security check at the roadblock at that time.
                                   Therefore, and in light of the alert presence of security forces in the

                                   designated area, the two withdrew from their plan to execute a
                                   shooting attack at the said destination.

                                   D .At the end, Samir and the Defendant retraced their steps with the
    lArabic language stampl PLO    weapon remaining in the Defendant's possession. Later, the latter
      Detainees & Ex-Detainees
           Department
        February 7, 2016           updated Ragheb that the shooting attack was not actually executed
     Gen, Dir. for Legal Affairs
             cha.L.d               due to the presence of the said security forces.




                  Sixth Count:

                  Description of the Offense: Conspiracy to intentional causation of death, an offense
                                   pursuant to Sections 209(A) and 254A of the Security Provisions

                                   [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-ZOO9.

                  Details of the Offense: The above-captioned Defendant, while in the region, conspired

                                   to intentionally cause the death of a person, to wit:

                                   A. At or around the end of September 2015, the Defendant had a
                                       discussion with Zeid Ziyad Jamil Amerhim (hereinafter: "Zeid") in

                                       which he proposed to him to take part in the Military Cell. Zeid
                                       accepted the proposal.

                                   B. Later and in light of Zeid's said consent, near the Dahiya mosque or
                                       in proximity thereto, the Defendant introduced Ragheb to Zeid in
                                       the latter's vehicle, a Golf (hereinafter: the "Golf"). During the
                                       meeting and before the three began discussions, Ragheb requested

                                       that they turn off the cellular phones that they had with them.
                                       Ragheb verified Zeid's readiness to take part in military operations.

                                       Then, the Defendant suggested to Ragheb to execute a drive-by

                                       shooting attack while riding on a motorcycle. Similarly, the
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                              Defendant noted that the terror attack would be executed with
                              Zeid's assistance given the latter's training in riding on a
                              motorcycle. ln response, Ragheb suggested to Zeid to execute the

                              shooting attack in the aforementioned format. Then, Zeid
                              explained that despite his training in riding a motorcycle and his

                              ability to take on an additional passenger to ride with him, the
                              outline of the proposed terror attack had a high-risk potential, and
                              therefore, the three decided not to proceed with the planning of
                              the said terror attack. At the end, the three discussed the need to
                              train Zeid how to operate an M16 weapon with an emphasis on the
                              dismantling, assembly, and carrying thereof' Ultimately, they did

                               not manage to do so.

          Seventh Count:

          Description of the Offense: lntentional causation of death, an offense pursuant to
                           Sections 199C (A and B) and 209(A) of the Security Provisions

                           [Consolidated Version] (Judea and Samaria) (No' 1551), 5770-2009.

          Details of the Offense: The above-captioned Defendant, while in the region,
                           intentionally caused the death of a person, to wit:

                           A. At or around September 2015, in light of the Military Cell's failures
                               in executing shooting attacks that they had executed prior thereto
                               as described above, the Defendant and Ragheb discussed the need

                               to execute a shooting attack the results of which would would
                               reverberate

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                                     toudty in the pubtic. Therefore, the Defendant accepted *rrflf,T*t-'0017e6-r

                                    suggestion to meet in the future. Besides the central objective that

                                    guided the Military Cell, meaning, causing the death of Jewish

                                    settlers, the Defendant would attempt to kidnap a Jewish Settler
                                    (hereinafter: a "Kidnapping Attack"). Already at that meeting,
                                     Ragheb asked the Defendant to reconnoitre various targets for
                                    purposes ofthe Kidnapping Attack and update him. The Defendant

                                    did as requested.

                                 B. Subsequently, given the agreement between the Defendant and
                                    Ragheb regarding the execution of the Kidnapping Attack, the

                                    latter contacted Amjad and requested his approval of and
                                    assistance in the execution of the said terror attack. ln response,

                                    the latter said that he would first contact his supervisors and would
                                    afterward update Ragheb. A short time afterward, Amjad gave
                                    approval to Ragheb to execute the Kidnapping Attack and apprised

                                    him that he would help him transport and conceal the hostage as

                                    requested. The two also agreed that to the extent that the
                                    Kidnapping Attack would succeed, Ragheb would dial the cellular
                                    phone in Amjad's possession, wait for the duration of a single ring

                                    tone, hang up immediately thereafter, repeat the action, and thus,
                                    practically, would update Amjad that they succeeded in kidnapping

                                    a Jewish settler and he should get to the meeting point close to

                                    Alraouda College and take the hostage into his custody.

                                 C. Later, approximately two weeks before execution of the terror
                                    attack, the Defendant met with Karam and updated him that the

                                    Military Cell intends to execute a shooting and kidnapping attack in
                                    the near future.
  tArabic language stampl PLO    D. On or around September 2820t5, in the Grocery Store in Nablus or
    Detainees & Ex-Detainees
          Department
      February 7, 2016
                                    in proximity thereto, the Defendant met together with Ragheb and
   Gen. Dir. for Legal Affairs
           checked                  Samir, and the three discussed execution of the shooting and
          lndictments
                                    kidnapping attack. ln that meeting, the three decided that they
                                    would execute the Kidnapping Attack on October t,20!5 near Beit
                                    Furiq. Similarly, the Defendant agreed with Ragheb that if the
                                    Kidnapping Attack succeeds, he will update him in order that the

                                    cell would transfer the hostage to Ragheb's care. At the meeting,
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                        Ragheb instructed Samir to purchase zip ties and dark stickers for

                       the Kidnapping Attack.
                    E. Two days prior to the execution of the terror attack or in proximity
                       thereto, the Defendant, clarified with Basam, on the background of
                       the latter's family relationship with Mohamed Nismi Mohamed
                       Amar (hereinafter: "Mohamed"), a physician, about the possibility

                        of the latter medically treating a member of the Military Cell or,
                        alternatively, the Jewish settler that they would kidnap, if required

                        due to the injury of one of them during the course of the
                        Kidnapping Attack. Basam agreed to assist the Defendant.
                        Thereupon, the two agreed that to the extent that such medical

                        treatment would be required, the Defendant would contact Basam
                        and tell him the expression, "My heart hLlrts," or some other
                        expression to the same effect, and thus, in fact, he would update

                        Basam that he and Mohamed must come meet the Defendant,

                    F. On the morning of October t,2Ot5, as the Defendant picked-up
                        Ragheb and Samir in a Kia taxi (hereinafter: the "Kia") in his
                        possession, the three began preparing the Kidnapping Attack

                        (hereinafter: the "Preparation Meeting"). During the course of the

                        planning, it was agreed that in the evening, Samir and the

                        Defendant would meet in the lskan Rujib region in order to
                        execute the Kidnapping Attack. As already planned in the
                        Preparation Meeting and given the complexity inherent in that
                        type of terror attacl! it was decided to use an operations format
                        that differed from the format that served the cell up until then'
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                                        ln the framework of the new format, the latter decided to join
                                       additional operatives to carry out the terror attack, arm the
                                       executing cell with additional weapons, and use a spacious vehicle

                                       for purposes oftransporting the hostage.
                                    G. ln accordance with the proposed format, it was decided that
                                       Karam, given his membership in the Military Cell and his already

                                       being informed of the planned terror attack, would participate in

                                       the Kidnapping Attack. Similarly, given Zeid's membership in the
                                       cell, the Defendant decided that Zeid would also take part in the
     [Arabic language stamp] PLO
       Detainees & Ex-Detainees        terror attack. lt was also agreed that in the evening, Ragheb would
             Department
          February 7, 2015
      Gen. Dir. for Legal Affairs
                                       provide to the Defendant a handgun, which he had located in
               Checked
             lndictments               advance, for the cell's operations. Similarly, the three determined

                                       that they would execute the Kidnapping Attack with Samir's Skoda.
                                       Already during the preparations, the Defendant received into his
                                       possession zip ties, two pairs of gloves, and three face scarves that

                                       the cell members would use while executing the terror attack.
                                    H. Subsequently, while traveling in the Kia, Samir brought Ragheb and
                                       the Defendant to a dirt road near Kafr Salem that leads to the Elon
                                       Moreh bypass road. At that point, the Defendant proposed to the
                                       other two that they perpetrate the Kidnapping Attack by means of
                                       that intersection - by parking their vehicle on the dirt road and
                                       proceeding on foot to the road. Ragheb and the Defendant

                                       declined Samir's proposal on the grounds that proceeding on foot

                                       would complicate the execution of the terror attack and increase
                                       the risk that the cell would be captured. Therefore, the three
                                       concluded that, as agreed in advance, the Kidnapping Attack would

                                       be executed at the intersection next to the Beit Furiq junction after

                                       they will have ascertained the absence of security forces
                                       immediately prior to the time for the terror attack.

                                    l. Later that day, in the afternoon, near the Nablus cemetery, as
                                       arranged by the Defendant, Karam and Ragheb met. Then, the
                                       latter updated Karam that the Kidnapping Attack would be
                                       executed later that day, in the evening, and ascertained Karam's

                                       readiness to take part in the terror attack. The latter expressed his

                                       consent. At the same time, the Defendant met with Zeid with the
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                       request that the latter come to the Defendant's house in the
                       evening.

                    J. Still on that same day, in the evening, Zeid picked up the
                       Defendant in his Golf vehicle, and the two rode to the Aldahiya
                       region, where they met Ragheb. At that point, the latter gave the

                       Defendant, as arranged, an FN handgun, imprinted with number
                       C06845 (hereinafter: the "Handgun"), and a magazine containing

                       compatible bullets that Ragheb had purchased ahead of time with

                       Samir's and Amjad's assistance. Similarly, Ragheb gave the
                       Defendant guidance on how to operate the Handgun.

                    K. lmmediately afterward, Zeid and the Defendant continued on their
                       way toward Alraouda College, where they picked up Karam. Then,

                       the three rode toward the lskan Rujib region, with the Defendant
                       giving guidance to Karam about operating the Handgun on the
                       way. When the cell members reached their destination, they met

                       with Samir, who had arrived at the place in the Skoda as planned.
                    L. Subsequently, around 8 pm., the Defendant traveled together with
                       Samir in the Skoda toward the Beit Furiq junction in order to
                       examine the target site that was chosen for the execution of the

                       Kidnapping Attack and confirm the absence of security forces at

                       the site. Then, Samir and the Defendant retraced

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                                       their steps to the lskan Rujib area or in proximity thereto and met
                                       Karam and Zeid. Then the Defendant and Karam traveled in the
     [Arabic language stamp] PLO       Skoda, at the Defendant's request, toward the Al-Masakin area or
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            Department
         February 7,2016
                                       in proximity thereto. At the same time, Zeid and the Defendant
      Gen. Dir. for Legal Affairs
              checked                  traveled in the Golf toward the home of the latter. There, the
                                       Defendant took the Weapon, Ammunition, zip ties, gloves, and
                                       face scarves, returned to Zeid's vehicle, and instructed him to drive

                                       toward the Al-Masakin area.
                                    M. When all of the cell members finally met at Al-Masakin or in
                                       proximity thereto, the Defendant turned to Zeid and instructed
                                       him to drive the Golf toward the Beit Furiq junction and confirm
                                       the absence of security forces along the intersection. For that
                                       purpose, For that purpose and in an effort to distance Zeid from

                                       being involved in the execution of the Kidnapping Attack, the
                                       Defendant gave Karam's cell phone to Zeid. Zeid was requested to

                                       use it to update him as to the absence of security forces by calling

                                       the Defendant's cell phone, wait for a single ring, and hang-up.
                                       Similarly, the Defendant instructed Zeid that after finishing
                                       checking the intersection, he should continue on his way toward

                                       the beverage store, PriceTea, located in the Al-Masakin area. The
                                       latter did as he was told.
                                    N. While Zeid was doing so, the other cell members began to
                                       camouflage themselves in order to escape identification during the
                                       perpetration of the terror attack. At that point, the Defendant and

                                       Samir applied dark stickers, which the latter already had, to the

                                       Skoda's license plates and other identifuing marks. ln addition, the

                                       three donned the face scarves while the Defendant and Karam put
                                       on the gloves.

                                    O, Subsequently and immediately after Zeid signaled to the members
                                       of his cell thatthere were no security forces atthe intersection, the
                                       Defendant, Karam, and Samir began to travel toward the Beit Furiq
                                       junction with the Defendant driving the Skoda. The Defendant
                                       drew out the Handgun and magazine, while they were driving, and
                                       passed them to Karam. Then the three sought a target for

                                       execution of the Kidnapping Attack.
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                    P. Further on, near the Beit Dajan junction, the cell noticed a
                       Mitsubishi bearing lsraeli license plate 95-731-10 (hereafter: the
                       "Mitsubishi"), which was occupied at the time by the Henkin
                       family - Eitam Henkin, of blessed memory, Na'ama Henkin, of
                       blessed memory, and their four small children, which was making

                       its way from the community of Elon Moreh toward the community

                       of ltamar. Thereupon, at the Defendant's request, Samir made a U-
                       turn, and the cell began pursuing the Mitsubishi. They then caught
                       up with the Mitsubishi, and, as they were passing it, the Defendant

                       leaned the upper part of his body out of the vehicle's window and

                       fired dozens of bullets from the Weapon, which was set to
                       automatic, at the Mitsubishi.

                    Q. As a result of the gunfire, Eitam Henkin, of blessed memory, was
                       injured, who stopped his vehicle at the roadside. lmmediately
                       thereafter, Samir stopped the vehicle. Then the Defendant, with
                       the Weapon, and Karam with the Handgun, got out of the vehicle
                       and      began walking toward the                        Mitsubishi

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                                            in order to kidnap one of its occupants as planned. At the same
                                            time, the Defendant replaced the magazine of the Weapon with
                                            another magazine that he had while Karam loaded the Handgun.

                                        R. When the two reached the Mitsubishi, the Defendant went to its
                                            right front door while Karam went to the driver's door. Then Karam

                                            began to struggle with Eitam Henkin, of blessed memory, who was

                                            doing all he could, with the last of his strength, to take the
                                            Handgun from Karam's grasp. While Eitam Henkin, of blessed

                                            memory, was fighting for his life and for the lives of his family, the

                                            Defendant noticed what was happening and fired a burst of bullets

                                            at the victim from close range with the Weapon set to automatic
                                            until the decedent breathed his last.


                                            Bv the above deeds. the Defendant and his accomplices
  tArabic language stampl PLO
    Detainees & Ex-Detainees
                                            intentionallv caused the death of Eitam Henkin, of blessed
         Department
      February 7, 2016                      memorv.
   Gen. Dir, for Legal Affairs
           Checked
          lndictments


                        Eiehth Count:

                        Description ofthe Offense: The intentional causation of death, an offense
                        pursuant to Sections 199C (a and b) and 209(4) ofthe             Security provisions
                        Order [Consolidated Versionl (Judea and Samaria) (No. 1651), 5770-2009.

                        Details of the Offense: The above-captioned Defendant, while in the region,

                        intentionally caused the death of a person, to wit:

                                        lmmediately after the occurrence of what is stated in the previous
                                        coitnt, Na'ama Henkin, of blessed memory, began to struggle with the
                                        Defendant in an attempt to survive. Then, without hesitation, the
                                        Defendant fired a burst of bullets point blank at Na'ama Henkin, of
                                        blessed memory, and caused her death in front of her small children,

                                        who were witness to the incident,

                                        Bv the above deeds. the Defendant and his accomplices intentionallv

                                        caused the death of Na'ama Henkin. of blessed memorv.




                        Ninth Count:
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          DescriptionoftheOffense: Attempted kidnapping in aggravating circumstances,
                         an offense pursuant to Sections 198 and 213(d) of the Security
                         Provisions Order [Consolidated Version] (Judea and Samaria) (No'

                         7651),5770-2009.

          Details of the Offense: The above-named Defendant, while in the region, kidnapped a
                         person while knowing that the hostage's life would be in danger or

                         kidnapped a person for purposes of extortion or threat, to wit:

                         By the deeds related in the Seventh and Eighth Counts, the Defendant

                         attempted to kidnap the vehicle's occupants.
          Tenth Count:

          Description of the Offense: Attempted intentional causation of death, an offense
          pursuant to Sections 198 and 209(a) of the Security Provisions Order [Consolidated

          Versionl (Judea and Samaria)(No. 1651), 577O-2OO9.

          Detailsof theOffense: The above-named Defendant, while in the region, attempted
                 to intentionally cause the death of a person, to wit:

                 By performing what is stated in subsection (p) of the Seventh Count, the
                 Defendantattempted to cause the death of M.H., the 9-year-old son of Eitam
                 and Na'ama Henkin, of blessed memory,
                                                                 10
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                               Eleventh Count:

                               DescriotionoftheOffense: Attempted intentional causation of death, an offense
                                                 pursuant to Sections 198 and 209(4) of the Security Provisions Order

                                                 [Consolidated Version] (Judea and Samaria) (No, 1651), 5770-2009.

                               Details of the Offense: The above-captioned Defendant, while in the region,

                                                 attempted to intentionally cause the death of a person, to wit:

                                                 By performing what is stated in subsection (p) of the Seventh Count,

                                               the Defendant attempted to cause the death of N.H., the 7-year-old
                                               son of Eitam and Na'ama Henkin, of blessed memory.

                               Twelfth Count

                               Description ofthe Offense: Attempted intentional causation of death, an offense
                                                 pursuant to Sections 198 and 209(4) of the Security Provisions Order

                                                 [Consolidated Version] (Judea and Samaria) (No. 1651), 577O-2OO9.

                               Details of the Offense: The above-captioned Defendant, while in the region,

                                               attempted to intentionally cause the death of a person. To wit, by
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  Detainees & Ex-Detainees
        Department
                                                 performing what is stated in subsection (p) of the Seventh Count, the
     Febtuary 7, 20!6
 Gen. Dir. for Legal Affairs                   Defendant attempted to cause the death of N.H., the 4-year-old son of
          chF.kFd
                                                 Eitam and Na'ama Henkin, of blessed memory.

                               Thirteenth Count:

                               DescriptionoftheOffense: Attempted intentional causation of death, an offense
                                               pursuant to Sections 198 and 209(A) of the Security Provisions Order

                                                 [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-2009.

                               Details of the Offense: The above-captioned Defendant, while in the region,

                                               attempted to intentionally cause the death of a person, to wit:

                                               By performing what is stated in subsection (p) of the Seventh Count,

                                               the Defendant attempted to cause the death of A.H., the 10-month-old
                                               son of Eitam and Na'ama Henkin, of blessed memory.

                               Fourteeenth Count:

                               Descriotionof theOffense: Harboring, an offense pursuant to Sections 245 and
                                               333 of the Security Provisions Order [Consolidated Version] (Judea and

                                               Samaria) (No. 165 1), 577 0-2009.
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          Details of the Offense: The above-captioned Defendant, while in the region, helped a
                         person or gave shelter to any person who committed a violation of

                         security legislation or who is engaged or had been engaged in any
                         activity intended to harm the public welfare, the welfare of the forces
                         and soldiers of the lDF, and the maintenance of public order, or who

                         could be reasonably suspected of having done so, whether by means of
                         providing information, shelter, food, drink, money, clothing, weaponry,

                         ammunition, supplies, fodder, means of transport, kerosene or any
                         other fuel, or whether by other means, to wit:

                         A. Further to what the Seventh Count of the indictment relates, while
                             the Defendant was shooting at Eitam Henkin, of blessed memory,
                             one of the bullets struck Karam and wounded him in the left hand.

                             Karam dropped the Handgun to the ground as a result and went

                             back to the Skoda. A few seconds afterward and after the
                             Defendant had caused the death of Na'ama Henkin, of blessed
                             memory, the latter also returned to the vehicle, and the three
                             drove to the area of Al-Masakin. During the course of their ride,

                             the Defendant called Basam on the phone and expressed the
                             words, "My heart hurts," as they had agreed as mentioned above.
                             lnitially, Basam told the Defendant that he is busy and therefore,
                             turned          down           the           latter's      request.

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                                   B, Subsequently, after Samir, Karam, and the Defendant reached
                                       their destination, they met Zeid as pre-arranged. Then the
                                       Defendant and Karam switched into Zeid's vehicle and drove to his

                                       house. While driving, the Defendant contacted Basam a second

                                       time and explained to him the urgency of the required aid, Basam
                                       complied with the Defendant's request for help and agreed to
                                       meet him at Zeid's house. Similarly, Ragheb contacted the
                                       Defendant. During the course of their conversation, the Defendant

                                       uttered the phrase, "Let's have a cocktail," or words to that effect,

                                       and thus, he updated Ragheb that the murderous terror attack was

                                       a success.
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            Department
                                   C. When the three reached their destination, Zeid headed toward his
        February 7, 2016
     Gen, Dlr. for Legal Affairs
                                       house and turned off the security cameras that were installed
              checked
            lndictments                around it in order to thwart documentation of what was happening

                                       close to his home. Shortly thereafter, Basam arrived at the
                                       destination alone. Then Basam brought the Defendant and Karam

                                       into a nearby uninhabited apartment that belonged to one of his
                                       relatives (hereinafter: the "Apartment"). Similarly, Basam gave
                                       Zeid keys to a nearby storeroom that Basam owned in order to
                                       stow away the Weapon, the face scarves, and the gloves that were

                                       used in the execution of the homicidal terror attack.

                                   D. Later, given Karam's injury, Basam led Mohammed to the
                                       Apartment. Then, the latter administered first aid to Karam and
                                       indicated that, given the severity of his injury, he should be
                                       evacuated to a hospital. At the same time, the Defendant led

                                       Ragheb to the Apartment, where Ragheb examined Karam's

                                       condition and decided to evacuate him to a hospital and directed
                                       the Defendant to travel with Karam to the Al-Arabi Al-Takhasusi
                                       hospital in Rafidiya. When they reached their destination, the two

                                       rejoined Ragheb, who accompanied Karam to receive medical
                                       treatment.

                    Fifteenth Count:
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          DescriptionoftheOffense: Obstruction of legal proceedings, an offense pursuant
                         to Section 22S(a) of the Security Provisions Order [Consolidated
                         Versionl (Judea and Samaria) (No. 1651), 5770-2009.

          DetailsoftheOffense: The Defendant, while in the region, acted with intent to
                         prevent or thwart a legal process or to bring about a miscarriage of
                         justice whether by obstructing the summoning of a witness, by
                         concealing evidence, or by any other means, to wit:

                         By performing what is stated in subsection (m) of the Seventh Count,

                         when he applied dark stickers to the Skoda, the Defendant obstructed
                         legal proceedings,



          Sixteenth Count:

          Description of the Offense: Trading in military equipment, an offense pursuant to
                         Sections 199 (a and b) and 233(b) of the Security Provisions Order

                         [Consolidated Version] (Judea and Samaria) (No' 1651), 5770-2009'

          Details of the Offense: The above-captioned Defendant, while in the region, traded or

                         otherwise dealt in military equipment without a permit signed by or on

                         behalf of the regional commander, to wit:

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                                                                                                             SHATSKYJ DO18O2-T

                                                    A. ln performing what is stated in the previous counts, when the
                                                       Defendant took into his possession or transferred into another's
IAEbic languaBe stamp] PLO
 Detainees & Ex-Detainees                              possession the Weapon and the Handgun, he traded in military
        Department
    February 7, 2016
 Gen. Dir, for Legal Affairs
                                                       supplies without a duly authorized permit.
         checked
        lndictments                                 B. When performing what is stated in subsection d to the Second
                                                       Count, the Defendant conducted trade in bullets without a duly

                                                       authorized permit.
                               Witnesses for the Prosecution:

                                   L. Police File 3593:
                                       -*"'5025
                                  2.                Senior Staff Sergeant Major Nadi Sadar (taker of the Defendant's
                                       statements dated October 4,20151.

                                  3. ^""*05588 Master Sergeant Radi Hatib (taker of the Defendant's statements of
                                       October 5,2OI5 and November 10,2015).

                                  4. ^*""6618 Advanced Staff Sergeant Firas Jabar (taker of the Defendant's
                                       statements of October L8, 2075, November 72,2Q!5, and October 28, zOtS,

                                       and preparer of the cover sheet for the exhibits dated October 19, 2015).

                                  5. "'""*3520 Superintendent Asaf Malka (preparer of the activity report dated
                                       November 13, 2015).

                                  6. ^*'""09462 Ertiom Tsarnogli (preparer of the cover sheet for the exhibits dated
                                       October 2,zOtS).
                                       *"*oL!75
                                  7.                 Sharif Uwida (preparer of the memorandum dated October L,20tS
                                       and the cover sheet for the exhibits, activity report, and transmittal of the
                                       exhibits to the ballistics lab form dated October2,2Ot5 and October 6, 2015).
                                       **""."1572
                                  8.                Advanced Staff Sergeant Yoel Hagai (preparer of the receipt form for

                                     exhibits for review dated October2,20t5 and October 6, 2015).
                                     *""'*2978
                                  9.            Amar Saliman (preparer of the cover sheet for the exhibits dated
                                       October 4, 2075, October 5, 2015, and October 6, 2075, preparer of the
                                       certificate of receipt of investigation material from the police dated October
                                       28,20t5, and preparerofthe memorandum dated November 10,2015).
                                  10, Superintendent Meir Dokel (preparer of the memorandum dated October 8,

                                       201s).
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             71.*'Ig!7 Advanced Staff Sergeant Yifat Biton Levanon (preparer of the
                   verification of the confession to causation of harm as a result of operations
                   hostile to lsrael dated November 6, 2015).

             12. "*"*"6069 Advanced Staff Sergeant Avi Nakar (preparer ofthe photo sheet dated

                   October I, 2015, forensic examination reports dated October 1, 2015 and
                   October 4, 2015, exhibits seizure report dated October 4,2OL5, and report
                   documenting the processing of fingerprints dated October 6, 2015).
                   **""'03833
             13.                Sergeant Major Tomer Ahrak (preparer of the memorandum dated

                   November 10, 2015).

             14. """"3290 Senior Staff Sergeant Major Yaacov Yerushalmi (preparer of the

                 memorandum dated November 16, 2015).
                 **"5117
             15.         Senior Non-Commissioned Officer Haim Cohen (preparer of the photo

                   sheet dated October L5,2015 and exhibits seizure report dated October 18,
                   201s).

             L6.^*247! Advanced Staff Sergeant Amar Hassan (preparer of the memorandum
                   dated October 5, 2015).

             17. "*""'*9898 Master Sergeant Sima Avrahami (preparer of the receipt for exhibits

                   for review dated October 19,2015).

             L8. "''*"7380 Yaacov Grenik (preparer of the exhibits seizure report dated october

                   4,2OL5l'.
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                                                                                                                 SHATSKY-J DO18O3-T

                               19. "-*"07893 Sergeant Major Majed Shufi (chain of exhibits)
                                     -"""'""0730
                               20.                 lnspector Shlomo Siton (preparer of the activity report dated October

                                     6, 2015).
                                     -*"3995
                               21.                Senior Staff Sergeant Major Yosi Larnav (preparer of the activity report

                                     dated Octobe r 6, 2Ot5).

[Arabic language stamp] PLO    22.*'*"2542 Master Sergeant Shmuel Alya (preparer of the activity report dated
  Detainees & Ex-Detainees
       Department                    October 3, 2015).
    February 7,2016
 Gen. Dir. for Legal Affairs
         checked               23. "'""""9571 Master Sergeant Ouni Yujenk (preparer of the activity report dated
        lndictments
                                     October I,20t5'|

                               24.^ """8272 Senior Staff Sergeant Major Eran Ashkenazi (preparer of the activity
                                   report dated October 1, 2015).
                                   -"'"2695
                               25.          Senior Staff Sergeant Major Alex Vino (preparer of the activity report
                                     dated October 7,20751.

                               26.^'o'^o6577 Master Sergeant Eyal Kalo (preparer of the activity report dated

                                   october r,2oLil.
                                   *'""'"6354
                               27.            Superintendent Michal Levin Elad (preparer of the examination
                                     reports dated October L2,2Ot5 and November 5, 2015).

                               28. ^***03485 lnspector Tomer Arbeli (preparer of the examination reports dated

                                     October t2,2015, October L8,2015, and November 5, 2015).

                               29. Superintendent Moshe Spitzen (preparer of the expert opinion dated
                                     November 9, 2015).

                               30. Superintendent Avi Kaufman (preparer of the expert opinion dated October 13,
                                     2015 and October 27,2015 and preparer of the confession to conspiracy for

                                     the series of pending incidents dated October 13, 2015).

                               31, Deputy Commissioner Dr. Yuri Mezin (preparer of the death certificate dated
                                     october 7,2075l'.
                               32. Yosi Eisen (preparer ofthe discovery verification October 15, 2015).

                               33. Captain Shmuel Rabinowitz (lDF, details at the Prosecution)
                               34. First Lieutenant Shahar Yonah (lDF, details at the Prosecution)
                                     R"d""t"d1700
                               35,                   Samir Zuheir lbrahim Kusa (detainee, prosecution File2253/151.
                                     R"d""t"d8869
                               36.                    Karam Lutfi Fathi Rizq (detainee, prosecution File2250/!5).
                                     Redacted
                               37.              77 1 0 Zeid Ziy ad Jam il Amer (deta i nee, prosecution File 225L/ $1.

                               38.
                                     Redacted
                                                1855 Basam Ramhi Daoud Abu Jezala (detainee, prosecution File
                                     22ss/tsl.
Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 33 of 71




                  R"d"'r"d5587
            39.                  Amjad Adel Mohamed Aliwi (detainee)
                  R"d""t"d1328
            40.                   Ragheb Ahmad Mohamed Aliwiya (detainee, Prosecution File

                  2283/Ls).

            41.Redacted9262      Mohamed Nazmi Mohamed Amar (released)

            42. Amihai Azulai (details at the Prosecution)

            43. Noa Shalgi (details atthe Prosecution)
            44. Elitzur Eliahu Trabelsi (details at the Prosecution)
             45. 7vi Goren (details at the Prosecution)

            46. Ovadia Reisenzvi (details at the Prosecution)

             47. aka "Shefer" (the General Security Service) (details at the Prosecution)

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Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 34 of 71




                                                                                        SHATSKY-JDO18O4-T

              48. aka "Maurice" (the General Security Service ) (details at the Prosecution)




          Police File 3202/15:

              49. "'"*'6831 Advanced Staff Sergeant Sassi Ezra (preparer 'of the receipt for

                   exhibits for review dated September 8, 2015).

              50. Superintendent Ezra Shoshani (preparer of the expert opinion dated
                   September 16,2Ot5).

              51. "*""5117 Senior Non-Commissioned Officer Haim Cohen (preparer of the

                   exhibits seizure report dated August 3I, 2015 and the forensic examination
                   report dated September 6, 2015).

              52. ^"""""5782 Boaz Hindig Cohen (preparer of the exhibits seizure report dated

                   August 31,2015 and the photo sheet and forensic examination report dated

                   September 6,2015 and November 4,20\51.

              53. ^'""""9141 Advanced Staff Sergeant Hagai Eckler (preparer of the verification of

                  the confession to causation of harm as a result of operations hostile to lsrael
                   dated August 31, 2015).

              54."""""7778 Yuval Shucher (preparer of the transmittal of the exhibits to the
                   ballistics lab form dated September 1, 2015).

             55. Roni Edri (details at the Prosecution).



                                                                           Rotem           Cohen,

                                                                   First Lieutenant

                                                                           Military Prosecutor

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                 Detainees & Ex-Detain€es
                       Department
                   February 7, 2016
                Gen. Dlr. for Legal Affairs
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                       lndictments




          [Handwritten in Arabic]: Follow-up on the matter with Abdullah Haj
          Mohammed, Yahya's brother..... L5

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Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 35 of 71




          Translator's
          Certifi cation
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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEWYORK
    SHABTAI SCOTT SHATSKY, eral.,

                                     Plaintiffs,
                                                          Case No. l8-cv-12355 (MKV)



    THE PALESTINE LIBERATION
    ORGANZATION and THE PALESTINIAN
    AUTHORITY,

                                   Defendants.



                                  DECLARATION OF YANIV BERMAI\

            I, Yaniv Berman, declare pursuant to 28 U.S.C. S 7746, as follows:

            1.      I am a professional translator with an M.A. degree in Middle Eastem Studies from

    the Hebrew University of Jerusalem (Israel). I read Arabic, Hebrew, and English fluently, and I

    am qualified to translate from Arabic into English and from Hebrew into English.

            2.      I certify that the attached documents are true and accurate hanslations of the

    Arabic and/or Hebrew originals with the corresponding Bates numbers. The translations are

    labelled with Bates numbers that correspond to the original documents, with the addition of a'1

    T" at the end to indicate that it is a translation.

            3.      To the extent that some of the information in the original documents was not

    clearly legible, I have translated such information into English to the best of my ability. Such

    instances are marked with an asterisk ("[*]").
Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 37 of 71




           I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and correct.
                                                             r-'- '.-" -'- ,-.
    Dated: July 26,2021                                 :'   i    tvrl    \,
                                                             .l          Yaniv Berman




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Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 38 of 71




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                     Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 39 of 71


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           According to {he information rr:ceived from the
                                                           lsraeli Authorities, lhe lnternational cornmittee of the Red
           Cross altests thal;


           Mr:          YEHYA MOHAM                         YEF                         HAJ-HAMAD

           From:        NABLUS
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          Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 41 of 71

 CONFIDENTIAL                                                                                                                                          SHATSKY-JD01784


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frICIT                        This attestation is valid only if the English and Arabic parts match each other



             According to lhe information received from the lsraeii Auihorities, the lnternational Cotnmittee of the Red
             Cross attests that:


             Mr:              YEI{YA                                                         HAJ.HAMAD

             Front:           t\rABtUS                 :/511                                        ;p yg.Redacted2g46


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CONFIDENTIAL                                                                                                                                     SHATSKY-JD01786


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       AccordingtotheinformationreceivedfromthelsraeliAuthorities'thel
       Cross attests thet:


       MT:           YEHYA MOHAMMADNAYEF ABDALLAH HAJ-HAMAD
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                     NABLUS                                                                 ID NO:
        From


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        He is to date: Awaiting Trial




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      Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 44 of 71

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      Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 46 of 71

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      Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 61 of 71

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      Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 62 of 71

CONFIDENTIAL                                                                                                                                  SHATSKY-JDO1805

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                                              TO WHOM rT MAY CONCERN


 CICR                  This attestation ls valid only if the Englioh and Arabic parts match each other



          According to the information received from the lsraeli Authorities, the lnternational Committee of the Red
          Cross attests that:


          Mr:          YEHYA MOHAMMADNAYEF ABDALLAH HAJ-HAMAD


          From         NtaLUS                                                       lD NO:
                                                                                              R"du"i"d2046




          Was arrested by lhe lsraeliAuthorities on (dd/mm/yyyy)                    03.10.2015


          He is lo date; Awaiting Trial




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Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 63 of 71




                    Exhibit 154
                                   Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 64 of 71




                                                          Prisoner Sa      Statemert
 Prisoner no.256147
 Prisoner Name: Yahia Muhamad Naif Abdullah Hajj Hamad
             Document no. 854332146
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         Translator's
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Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 67 of 71




    TINITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
     SHABTAI SCOTT SHATSKY, eral.,

                                     Plaintiffs,
                                                              Case No. l8-cv-12355 (MKV)




     THE PALESTINE LIBERATION
     ORGANIZATION ANd THE PALESTINIAN
     AUTHORITY,

                                   Defendants.



                                 DECLARATION OF YAI\IV BERMAN

           I, Yaniv Berman, declare pursuant to 28 U.S.C. $ 1746, as follows:

            1.      I am a professional translator with an M.A. degree in Middle Eastem Studies from

    the Hebrew University of Jerusalem (Israel). I read Arabic and English fluently, and I am

    qualified to translate from Arabic into English.

            2.      I certifr that the attached documents are true and accurate translations of the

    Arabic originals designated as "Shatsky-JD00012" through "Shatsky-JD00534." The

    translations are labelled with Bates numbers that correspond to the original documents, with the

    addition of a "-T" at the end to indicate that it is a translation.

            3.      To the extent that some of the information in the original documents was not

    clearly legible, I have translated such information into English to the best of my ability. Such

    instances are marked with an asterisk ("[*]").
Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 68 of 71




           I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and correct.


    Dated: June24,202l
                                                              /    Yaniv Berman




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Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 69 of 71




                   Original
     Case 1:18-cv-12355-MKV-DCF Document 177-23 Filed 05/16/22 Page 70 of 71




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